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                               UNITED STATES DISTRICT COURT
                               SOUTH E RN DISTRI CT O F FLORIDA

                        CASE NO.    18-20953-CR-COOKE<GRAHAM}
    UNITED ST ATES OF AMERIC A

    vs.

    TERRANCE R EY NOLDS,

                          Defe ndant.
                                           I
                                               VERDICT
          (I)     We, the Jury, unanimously find the Defendant, TERRANCE REYNOLDS, as to

          Count One of the Indictment:

                   NOT GUILTY - - - -                    GU ILTY


           (2)   We, the Jury, unanimously find the Defendant, TERRAN CE RE Y NOLDS, as to

    Count Two of the Indictment:

                  NOTGUILTY _ _          J/.--_          GU ILTY _   _   _


           (a)    If you find the Defendant not guilty of Count Two, please skip to paragraph (3)

                  below. However, if you find the Defendant guilty as to Count Two, please now

                  proceed to paragraphs 2(b) and 2(c) below.


           (b)    We, the Jury, having found the Defendant, TERRANCE R EY NOLD S, guilty of

                  C ount Two, further unanimous ly find that the Defendant used a dangerous weapon

                  (place an X in the applicab le box):


                         YES []                          NO[].
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                    (c)       We, the Jury, having found the Defendant, TERRANCE REYNOLDS, guilty of

                              Count Two, further unanimously find that the offense resulted in bodily injury to

                              Andre Lopez (place an X in the applicable box):


                                     YES []                                 NO[]


         (3)        We, the Jury, unanimously find the Defendant, TERRANCE REYNOLDS, as to Count

         Three of the Indictment:

                              NOT GUILTY       __j__                        GUILTY - - - -




         SO SAY WE ALL.


         Signed and dated at the United States Courthouse, Miami, Florida, thi ¾l.i day of February
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                                                             Foreperson's Printed Name
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